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   8
                        IN THE UNITED STATES DISTRICT COURT
   9
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  10

  11
       SHERRY BASON; LOIS WINN;                       Case No. 22-cv-1611-WGH-MDD
  12 GEORGES EMMANUEL NJONG
       DIBOKI; JULIA SIMS; and SOPHIA
  13 WOODLAND, individually and on                    NOTICE OF VOLUNTARY
       behalf of all others similarly situated,       DISMISSAL OF ACTION
  14
                            Plaintiffs,               WITHOUT PREJUDICE
  15
               v.
  16
       REALPAGE, INC.; GREYSTAR
  17 REAL ESTATE PARTNERS, LLC;
       LINCOLN PROPERTY
  18 MANAGEMENT CO.; FPI
       MANAGEMENT, INC.; MID-
  19 AMERICA APARTMENT
       COMMUNITIES, INC.; AVENUE5
  20 RESIDENTIAL, LLC; EQUITY
       RESIDENTIAL; ESSEX PROPERTY
  21 TRUST, INC.; THRIVE
       COMMUNITIES MANAGEMENT,
  22 LLC, and SECURITY PROPERTIES,
       INC.,
  23
                            Defendant.
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               Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), Plaintiffs hereby

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       give notice that this action is voluntarily dismissed in its entirety.   None of the

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       Defendants have served an answer or motion for summary judgment in this action.

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   1 Accordingly, Plaintiff notices voluntary dismissal of this action, without prejudice.

   2 See Fed. R. Civ. P. 41(a)(1)(B).

   3
       Dated: December 2, 2022              Respectfully Submitted,
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   5
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